CaSe 15-05422-LA7 Filed 05/14/18 Entered 05/15/18 06244220 DOC 90 PQ. 1 Of 6

CSD 1183 [05/19/17]
Name, Addre§s, Te|ephone No. & |.KNo.

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UNlTED STATES BANKRUPTCY COURT 6 ms ‘ OF C $gl,"_

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SOUTHERN D|STR|CT OF CALlFORN|A 'cv
325 West F Street, San Diego, California 92101-6991

 

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Tax |.D.(E\N)#: /S.S.#:XXX-XX- Debtor.

NOT|CE OF HEAR|NG AND MOT|ON
TO:

You are hereby notified that on \`! Uf\@ \Ll t , at j D.m, in Department §Room
of the Jacob Weinberger United States Courthouse, located at 325 West F Stree¥, San Diego, California 92101-6991, there
will be a hearing regarding the motion of Wr\§§_p mr\/\\ f\§`\ my , Movant, for
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Any opposition or other response to this motion must be served upon the undersigned and the original and one copy
of such papers with proof of service must be filed with the C|erk of the U.S. Bankruptcy Court at 325 West F Street, San
Diego, California 92101-6991, not later than fourteen (14)' days from the date of service.

DATED:

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-[Atterney-for] Moving Party

1Depending on how you were served, you may have additional time for response. See FRBP 9006.

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CSD 1183 (Page 2) [05/19/17]

CERTIF|CATE OF SERVICE
l, the undersigned whose address appears below, certify:
That l am, and at all relevant times was, more than 18 years of age;

That on l 2 day of MGLU , 20 | served a true copy of the within NOT|CE OF MOTION
AND HEA\R|NG, together with the followi g pleadings [describe any other papers]:

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by [describe here mode of service]: _F\\ r\$% C lagg b`/\_Q \ §

on the following persons [set forth name and address of each person served] and as checked below:

I:I Attorney for Debtor (if required):

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/B` For Chpt. 7, 11, & 12 cases: |:I For ODD numbered Chapter 13 cases: l] For EVEN numbered Chapter 13 cases:
UNlTED STATES TRUSTEE THOMAS H. B|LL|NGSLEA, JR., TRUSTEE DAV|D L. SKELTON, TRUSTEE
Department of Justice 401 West A Street, Suite 1680 525 B Street, Suite 1430
880 Front Street, Suite 3230 San Diego, CA 92101 San Diego, CA 92101-4507

San Diego, CA 92101-8897

l certify under penalty of perjury that the foregoing is true and correct.

Executedon 5` \f?/` lcé B{\\]Kmm§/W

 

 

(Typed Name and Signature) w
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(Address)

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(City, State, ZlP Code)

CSD 1183

CaSe 15-05422-LA7 Filed 05/14/18 Entered 05/15/18 06244220 DOC 90 PQ. 3 Of 6

Denise Dominguez (c|aimant) 5/12/2018
706 East Ohio Ave
Escondido California, 92025

United States Bankruptcy court
Southern District Of California

ln re: Coast Medical Center Case: 15-05422LA7

l Denise Dominguez and respectfully asking to motion to extend time to respond to the notice of
trustee’s final report and application for compensation and deadline to object (NFR). Dated
3/19/2018 made by Les|ie G|adstone trustee for Coast Medical Center. l Denise Dominguez the
claimant am requesting a approve the hearing date for June 14th 2018 at 2pm. in dept, 2. As
well as ask to not discharge my case with Coast Medical Center. The motion should be denied
due to the basis of the claim.

1: Pregnancy discrimination

2. Failure to prevent pregnancy discrimination

3. Wrongful termination in violation of public policy

4: Un|awful inquiry in violation of the fair housing and employment act.

l further allege l have suffered monetary damages and non monetary damages as a direct and
proximate result of Coast l\/ledica| Center’s unlawful conduct. Prior to reaching trial Coast
Medical Center filled it’s petition on August 18 2015. Thus triggering an automatic stay of my
claims in San Diego County Superior Court. l went through a|ot due to the fact that i was
wrongfully terminated The stress caused me and my unborn child at the time lots of
complications When my son was born i was in a deep depression had anxiety and lost trust in
the system. My son was in and out of the hospital the first four months of his life due to stress
while l was pregnant Getting terminated so far in my pregnancy and having it caused me
depression my family and i struggled some days We had no food, electricity. l felt so bad that
coast Medical Center had me so depressed | didn’t even want to be pregnant My son is the
greatest gift i could have ever received and in no way would have felt that way on my own. My
mental State was altered by Coast l\/|edical Center. l feel it would be even more unfair to let
them get away with this. Without any consequence l understand that there may not be enough
money to pay the full balance they owe me at this time. However l don't want to feel that i went
through that agony and worry about my baby for nothing. l feel that should be made to pay
something for everything i went through. Even if that means making payment. lt is partly due to
money that i feel i am owed but also to make them, aware they hurt someone and there family
and there are consequences when you violate laws. So please l am asking you for an extension
to object and oppose motion dated 3/19/2018. l am including Exhibit B it is my Denise
Dominguez declaration referring to basis of claim and evidence of validity of claim as well as
evidence of amount of claim.

l declare under penalty of perjury and the laws of the United States of America that the above is
true and correct executed this 12th day of may 2018 in San Diego California.

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3 (larporn¢ Pllk. Suite 150
Irvine, California 92606
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I, Denise Dominguez, declare and state as follows:

BASIS QF CM

l. On August l9, 2014, l filed a Complaint against Coast Medical Center, Inc. (“Coast
Medical Center”) in San Diego County Superior Court, Case No. 37-2014-00027825-CU-W'1'-CTL. On
Apn'l 27, 2015, I filed a First Amended Complaint against Coast Medical Center. Attached to my
declaration as Exhibit C is a true and correct copy of the First Amended Complaint that I filed on April
27, 2015. !n my First Amended Complaint, I allege causes of action fort (l) pregnancy discrimination;
(2) failure to prevent pregnancy discrimination; (3) wrongful termination in violation of` public policy;
and (4) unlawful inquiry in violation of the Fair Ernployment and Housing Act. I timber allege that I
have suffered monetary and non-monetary damages as a direct and proximate result of Coast Medical
Center’s unlawful conduct. Prior to the action reaching trial, Coast Medical Center filed its Petition on

August 18, 2015, thus triggering an automatic stay of my claims in San Diego County Superior Court.

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2. Approximately two weeks before my first day of employment with Coast Medical
Center, I had a pre~employment interview with Coast Medical Center’s office manager, Brenda Kough
(“Kough”), and office administration Steven Wil[iamson (“Williamson”). At the time of my pre-
employment interview, I was approximately five to six months pregnant During the pre-employment
interview, Kough made an unlawful inquiry to identify my pregnant status and my need for future
pregnancy and/or disability leave. More specifically, Kough asked me if there was anything that would
prevent me from working over the next year. In response to Kough’s unlale inquiry, I did not inform
Kough of my pregnant status or of my need for possible fixture pregnancy and/or disability leave out of
fear that I would not be offered a position with Coast Medical Center. Coast Medical Center hired me
and I began working for Coast Medical Center as a medical assistant on June 24, 2014.

 

 

 

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PROOF OF CLAIM EXHIBIT B - DECLARATION OF DENISE DOMINGUEZ

 

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BARRITT SMI'I'H LLP
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3. During approximately the first week of my employment I received training fi'om
various employees of both Coast Medical Center and its sister company, Linae Healthspan lnstitute,
!nc. (“Linae Healthspan”), regarding the performance of my job duties as a medical assistant More
specifically, l sat in the front office with April Casillas (“Casillas”), Timmanie Gorman (“Gorrnan”)
and Kough and I was trained on many aspects of my position, including how to schedule appointments,
the process of inputting data into Electronic Medical Records, answering phones, taking and entering
messages, and verifying patient insurance l adhered to the training that I received and l competently
performed my job duties as a medical assistant Indeed, during my brief employment with Coast
Medical Center, I was never informed that my performance was deficient or that I was not competently

performing my job duties as a medical assistantl

4. On June 30, 2014, l went to lunch with Gorman and Casillas. While at lunch, I informed
Gorma.n and Casillas of my pregnancy and that I was afraid to disclose my pregnancy to Coast Medical
Center out of fear of that I would be terminated because of my pregnant status. Shortly alter lunch (on
June 30, 2014), I informed Kough of my pregnancy. The next day, Kough told me that she (Kough)
had informed Dr. Linette Williamson (owner of Coast Medical Center) of my pregnancy status. Kough
further told me that Dr. Williamson had called her lawyer and Dr. Williamson’s lawyer advised her that
because Coast Medical Center did not have fifteen employees, she could fire me for my pregnancy and
my failure to disclose my pregnancy in my pre-employment interview. Kough, therefore, terminated
my employment on June 30, 2014. Kough told me that she tried to “fight” for me because I was such “a
good employee.” When I told Kough that it was not fair that I was being terminated because of my
pregnancy, Kough replied, “we don't fall under any of those rules.”

EVIDENCE OF AMOUNT OF CLAIM
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5. I have suffered monetary and non-monetary damages as a direct and proximate result of
Coast Medical Center’s unlawful conduct Coast Medical Center paid me a base hourly rate of $15.00.
Following my termination from Coast Medical Center, I remained unemployed until l had my baby in

September 2014. Aecordingly, I suffered economic damages in an amount not less than 513,000

 

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PROOF OF CLAIM EXHIBIT B - DECLARATION OF DENISE DOMINGUEZ

 

 

 

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BARR]I] SMllH LLP
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($ 15.00 per hour x 8 hours per day x 5 days per week x 52 weeks / 12 months = $2,600 x 5 months of
unemployment = $l3,000). Moreover, I have suffered emotional distress, emotional pain and mental
anguish as a result of my unlawful termination from Coast Medical Center. The physical manifestations
of my emotional distress, emotional pain and mental anguish include anxiety, depression, headaches,
neck tension, nausea/nervous stomach, ditiiculty sleeping, crying, upset stomach, fear, and blood
pressure tluctuation. These manifestations still present themselves These syrupme are intermittent
and, depending on the symptom, last anywhere from a few minutes to a few hours when they occur.
Finally, Coast Medical Center’s conduct, as described above, was done with malice, fraud or
oppression, and in reckless disregard of my rights and vw‘th the intent, design, and purpose of injuring
me. Coast Medical Center, through its officers, managing agents, and/or supervisors, authorized,
condoned and/or ratified the unlawful conduct listed above. Thus, I am also seeking punitive damages
in an amount appropriate to make an example of Coast Medical Center to the community (although I
understand that this will be a subordinated claim). The chart below sets forth what my damages (at a

minimum) to date:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Backpay $13,000.00
Emotional Distress $50,000,00
Punitive Darnages $100,000.00
Attomeys’ Fees $60,000 (As set forth in my
counsel’s declaration)
Costs: $3,500 (As set forth in my
counsel’s declaration)
mr mason

 

 

 

 

 

 

 

 

 

I declare under penalty of perjury under the laws of the State of California that the

foregoing is true and correct Executed this t`d.ay of ]anuary, 2016 at , C\alifomia.

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